447 F.2d 985
    Joseph JOHNSON, Petitioner-Appellant,v.S. Lamont SMITH, Warden, Georgia State Prison, Reidsville,Georgia, Respondent-Appellee.No. 71-1239 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Sept. 2, 1971.
    
      Joseph Johnson, pro se.
      Arthur K. Bolton, Atty. Gen. of Ga., William R. Childers, Jr., Harold N. Hill, Jr., Executive Asst. Atty. Gen., Courtney Wilder Stanton, Asst. Atty. Gen., W. Hensell Harris, Jr., Atlanta, Ga., for respondent-appellee.
      Appeal from the United States District Court, Southern District of Georgia, at Savannah; Alexander A. Lawrence, Chief Judge.
      Before COLEMAN, SIMPSON, and MORGAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Joseph Johnson, Represented by retained counsel, was convicted by a trial jury of the rape of an elderly woman.  On January 21, 1966, he was sentenced to imprisonment for life.  In the habeas corpus proceedings now under review Johnson contended that his retained attorney rendered ineffective representation at the trial and that he, Johnson, was denied a direct appeal.
    
    
      2
      Upon examination of the record, including the record in both the state court and the United States District Court for the Southern District of Georgia, we affirm under our Local Rule 21.1
    
    
      3
      It might be added simply for clarification, that this case is squarely governed by Langford v. State of Alabama, 5 Cir., 1969, 422 F.2d 760, cert. denied, 400 U.S. 851, 91 S.Ct. 69, 27 L.Ed.2d 88 (1970).
    
    
      4
      Affirmed.
    
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    